                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

 In re: Madison Chiropractic & Nutrition                )           Case No.: 18-82075-CRJ-11
        Center, LLC                                     )
        EIN: xx-xxx0856                                 )
                                                        )
                 Debtor.                                )           CHAPTER 11

                        DEBTOR’S REPORT ON BALLOTS FILED
                   CONCERNING DEBTOR’S PLAN OF REORGANIZATION

         COMES NOW the Chapter 11 Debtor, Madison Chiropractic & Nutrition Center, LLC (the
 “Debtor”), and, pursuant to 11 U.S.C. § 1126 and this Court’s order, files this report on ballots filed
 on its pending Plan of Reorganization (the “Plan”):

                                     VOTING RESULTS BY CLASS

         CLASS                                                      VOTING RESULTS
         Class 1 – Secured Creditor Class: ADOR                      Class Member Did Not Vote.

         Class 2 – Priority Tax Creditor Claims                     Class Members Did Not Vote.

         Class 3 – De Minimis Class                                 This Class Accepts the Plan.
                           Creditor Lynda Hall voted to accept the Plan (Doc. 78); and
                           No other creditors in this class cast a ballot on the Plan.

         Class 4 – General Unsecured Class                          Class Members Did Not Vote.

         Class 5 – The Debtor’s Equity Security Holders             Class Members Did Not Vote.

                                                   CONCLUSION

         One creditor voted to in favor of the Plan resulting in Class 3 accepting the Plan. No parties-
 in-interest voted to reject the Plan. Additionally, no parties-in-interest filed any timely objections to
 confirmation of the Plan. The Plan is eligible for confirmation without the need to cram-down the
 interests of any dissenting creditors.




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        Respectfully submitted this 8th day of April, 2019.

                                                /s/ Tazewell T. Shepard IV
                                                Tazewell T. Shepard III
                                                Tazewell T. Shepard IV
                                                Attorneys to Chapter 11 Debtor

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                                   CERTIFICATE OF SERVICE

        This is to certify that I have this the 8th day of April, 2019 served the foregoing document upon
 all addressees on the Clerk’s Mailing Matrix in this case, Richard M. Blythe, Office of the Bankruptcy
 Administrator, P.O. Box 3045, Decatur, AL 35062 by electronic service through the Court’s CM/ECF
 system and/or by placing a copy of the same in the U. S. Mail, postage prepaid.


                                                /s/ Tazewell T. Shepard IV
                                                Tazewell T. Shepard IV




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